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        5   Attorneys for Defendant
        6   YASSER BRENES
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        8
                            IN THE UNITED STATES DISTRICT COURT
        9
                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
       10
       11
            UNITED STATES OF AMERICA,                   Case No.: 2:12-cr-00600-PJW
       12            Plaintiff,
       13
                                                        DEFENDANT’S SUBMISSION OF
                   vs.                                  LETTERS WITH RESPECT TO
       14                                               SENTENCING
       15   YASSER JOSUE BRENES
                     Defendant.                         Hearing Date: December 20, 2012
       16                                               Hearing Time: 10:30 a.m.
       17
       18
       19         The Defendant, Yasser Josue Brenes, submits the following attached letters
       20   in support of his application for a non-custody sentence in this matter.
       21   ///
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 LLP
             Case 2:12-cr-00600-PJW Document 22 Filed 12/14/12 Page 2 of 2 Page ID #:56




        1   Exhibits (labeled by author):
        2         A.   Yasser Brenes
        3         B.   Reverend Ricky L. Adams
        4
                  C.   Pastor Jay Reed
                  D.   Captain Warren S. Litherland
        5
                  E.   Captain Charles B. Hill
        6         F.   Helen Nunez, Chief Warrant Officer, Second Class
        7         G.   Second Lieutenant Brandon Kennard
        8
        9   Dated: December 14, 2012              LIGHTFOOT STEINGARD & SADOWSKY LLP
       10
       11
                                                  By: /s/ - Michael J. Lightfoot
       12                                         Michael J. Lightfoot
       13                                         Attorneys for Defendant
                                                  Yasser Josue Brenes
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&SADOWSKY
 LLP
